                                                       Eastern
                United States District Court for the _____________
                                          Tennessee
                           District of _______________


  TRAVIS AND JESSICA FRITZ, as Third-Party Beneficiaries of
  _____________________________________________
  LAXMIJI, LLC, Individually and LAXMIJI, LLC, d/b/a
  MOUNTAIN VISTS INN & SUITES, BHARAT PATEL,
  _____________________________________________
  Individually and BHARAT PATEL d/b/a MOUNTAIN INN &
  _____________________________________________
  SUITES, and JAGRUTI PATEL,
                                       Plaintiff,


          vs.                                                               3:17-CV-433-TAV-HBG
                                                                  CASE NO.______________


  ST. PAUL FIRE AND MARINE INSURANCE COMPANY,
  _____________________________________________
  _____________________________________________
  _____________________________________________
                                       Defendant.


                                NOTICE OF APPEAL

                                           Travis Fritz and Jessica Fritz
          Notice is hereby given that _____________________________________,       hereby appeal
                                         (here name all parties taking the appeal)
                                                                    the Order Granting Defendant's
  to the United States Court of Appeals for the Sixth Circuit from _________________________
                                                                     (the final judgment) (from an
   Motion for Summary Judgment (Doc. 91)
                                                                 12th
  _______________________________ entered in this action on the __________ day of
   order (describing it))
    August
  _______________________,   2019
                           ______.


                                             Sidney W. Gilreath
                                       (s)_____________________________________________
                                                       550 W. Main Ave., Suite 600
                                             Address:____________________________________
                                                        Knoxville, TN 37902
                                                       ____________________________________
                                                       ____________________________________


                                                          Travis Fritz and Jessica Fritz
                                            Attorney for _________________________________

  cc: Opposing Counsel ___
      Court of Appeals ___

  6CA-3
  1/99
Case 3:17-cv-00433-TAV-HBG Document 92 Filed 09/19/19 Page 1 of 1 PageID #: 1463
